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                     IN THE UNITED STATES COURT OF APPEALS

                              FOR THE ELEVENTH CIRCUIT
                                ________________________

                                    No. 21-11758-GG
                                ________________________

CONTINENTAL CASUALTY COMPANY,
VALLEY FORGE INSURANCE COMPANY,

                                                                          Plaintiffs-Appellants
                                                                              Cross Appellees,

                                            versus

WINDER LABORATORIES, LLC,
STEVEN PRESSMAN,

                                                                        Defendants-Appellees
                                                                            Cross Appellants,

CONCORDIA PHARMACEUTICALS, S.A.R.L.,

                                                                          Defendant-Appellee.
                                ________________________

                         Appeal from the United States District Court
                            for the Northern District of Georgia
                               ________________________


Before: JILL PRYOR and BRASHER, Circuit Judges.

BY THE COURT:

       The motions of Continental Casualty Company and Valley Forge Insurance Company to

amend their complaint and supplement the record on appeal are GRANTED, and this appeal

MAY PROCEED. We accept the evidence submitted with Continental and Valley Forge’s

motion to supplement, and we deem the record so supplemented. See Cabalceta v. Standard

Fruit Co., 883 F.2d 1553, 1555 (11th Cir. 1989). Furthermore, the complaint is amended to
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allege the following: (1) Continental is incorporated in Illinois and has its principal place of

business in that state; (2) Valley Forge is incorporated in Pennsylvania and has its principal place

of business in Illinois; (3) Winder Laboratories, LLC’s members are Steven Pressman, a

California citizen, Jeff Pressman, a California citizen, Abul Bhuiyan, a Florida citizen, RG

Investors, LLC, which has a California citizen as its single member, and RMB Services, LLC,

which has a Florida citizen as its single member; (4) Concordia Pharmaceuticals, SARL, is

organized under the laws of Luxembourg, has its principal place of business in Barbados, and, at

the relevant time, had a single corporate member, which was incorporated in Canada and had its

principal place of business in that country. We deem the complaint, as amended, sufficient to

invoke the district court’s diversity jurisdiction. 28 U.S.C. § 1332(a)(1), (c)(1);

Freeport-McMoRan, Inc. v. K N Energy, Inc., 498 U.S. 426, 428 (1991); Travaglio v. Am.

Express Co., 735 F.3d 1266, 1269 (11th Cir. 2013); Underwriters at Lloyd’s, London v.

Osting-Schwinn, 613 F.3d 1079, 1086 (11th Cir. 2010); MacGinnitie v. Hobbs Grp., LLC,

420 F.3d 1234, 1239 (11th Cir. 2005). Continental and Valley Forge are directed to file notice of

this order in the district court along with a copy of this order and the newly amended complaint.




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